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           ORDERED in the Southern District of Florida on November 13, 2024.




                                                                       Laurel M. Isicoff, Judge
                                                                       United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                       Case No. 24-21209-LMI

           SHIFTPIXY, INC. et al.1                                      Chapter 11

                 Debtor.
           _______________________________/

                    ORDER GRANTING DEBTORS’ MOTION FOR AN ORDER PURSUANT TO
                     BANKRUPTCY RULE 1007(c) GRANTING AN EXTENSION OF TIME TO
                            FILE STATEMENT OF FINANCIAL AFFAIRS AND
                               SCHEDULES OF ASSETS AND LIABILITIES

                     THIS MATTER came before the Court on the Debtors’ Motion for an Order Pursuant

           to Bankruptcy Rule 1007(c) Granting an Extension of Time to File Statement of Financial

           Affairs and Schedules of Assets and Liabilities (the “Motion”) [ECF No. 51]. The Court, having

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            The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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reviewed the Motion, and pleadings in this case and being fully advised on the premises, it is hereby,

        ORDERED, as follows:

        1.      The Motion is GRANTED.

        2.      The deadline for the Debtors to file its Schedules and Statements is extended to

November 19, 2024.

        3.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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Submitted by:
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Proposed Counsel for the Debtor
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[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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